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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                             NO. 4:16CR00049-15 KGB

DAVID JOSEPH BERNARD

                                     ORDER

      Pending before the Court is a motion for issuance of a summons and

revocation of pretrial release (d.e. #162). For good cause shown, the motion for

issuance of a summons in GRANTED. The Clerk is directed to issue a summons

to Defendant DAVID JOSEPH BERNARD for appearance at a hearing before

United States Magistrate Judge J. Thomas Ray on July 19, 2016, at 11:00 a.m. to

show cause why his pretrial release should not be revoked.

      IT IS SO ORDERED this 13th day of July, 2016.




                                      UNITED STATES MAGISTRATE JUDGE
